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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
______________________________________________
                                              )
UNITED STATES OF AMERICA                      )
                                              )
                    Plaintiff,                )
v.                                            ) Civil Action No. 04-798 (PLF/GMH)
                                              )
ALL ASSETS HELD AT BANK JULIUS BAER & )
CO., LTD., GUERNSEY BRANCH, ACCOUNT           )
NUMBER 121128, IN THE NAME OF PAVLO           )
LAZARENKO, ET AL.                             )
                                              )
                    Defendants In Rem.        )
______________________________________________)

                                                  ORDER

        The A/E/L Claimants have filed a motion to quash two subpoenas served on third parties by the

government (ECF No. 1136) and the government had filed a motion for clarification of the Court’s order

dated March 27, 2019 (ECF No. 1141). In light of these submissions and the responses received by the

Court (ECF Nos. 1142, 1143, 1145), it is hereby

        ORDERED that the parties shall appear for a status conference on April 9, 2019, at 10:30 a.m.

before the undersigned. Counsel shall be prepared to discuss the pending motion to quash, including

whether the subpoenas are deficient on their faces for failing to comply with the requirements of Federal

Rule of Civil Procedure 45(a)(1)(A); 1 whether this is the proper Court to hear that motion and, if not, what

court(s) the motion should be before; whether the subpoenas as written are overbroad; and whether the

motion to quash the subpoena served on Eagle Bank is moot. Counsel shall also be prepared to discuss

proposals presented in recent submissions for modifying the discovery schedule.

        SO ORDERED.

Dated: April 4, 2019                              ___________________________________
                                                  G. MICHAEL HARVEY
                                                  UNITED STATES MAGISTRATE JUDGE


1
 The copies of the supbpeonas provided to the Court by the A/E/L Claimants appear to be incomplete. ECF No.
1138-1.
